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                         EXHIBIT J
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Stein, Micah D.

From:                             McKenna, Elizabeth <emckenna@milberg.com>
Sent:                             Friday, March 22, 2019 1:25 PM
To:                               Miller, Britt M.; 'agulley@gibbsbruns.com' (agulley@gibbsbruns.com)
Cc:                               SERVICE-EXTERNAL-DMS-MDL (SERVICE-EXTERNAL-DMS-
                                  MDL@lists.kellogghansen.com)
Subject:                          RE: DMS - Third Party Scheduling


**EXTERNAL SENDER**

A correction to my earlier email – XTime shouldn’t have been included as a third party – your third party depo list needs
to be reduced by two. All other points remain. Thanks.

From: McKenna, Elizabeth
Sent: Friday, March 22, 2019 12:28 PM
To: 'Miller, Britt M.' <BMiller@mayerbrown.com>; 'agulley@gibbsbruns.com' <agulley@gibbsbruns.com>
Cc: SERVICE-EXTERNAL-DMS-MDL <SERVICE-EXTERNAL-DMS-MDL@lists.kellogghansen.com>
Subject: DMS - Third Party Scheduling

Counsel:

There are six weeks left before the end of fact discovery. You have either scheduled or proposed the following nine third
party depositions -- three too many under the deposition protocol. As you can see from the dates below, additionally in
violation of the protocol, there are two weeks in the schedule where you have proposed more than one third party
deposition per week.

We will accommodate your request to schedule more than one third party deposition in a week under the condition that
you agree to the reciprocal accommodation for MDL Plaintiffs’ third party deposition scheduling. However, we will not
agree to all nine of the third party depositions you have proposed, and request that you inform us immediately which six
third parties you intend to depose.


 Week of March 25-29:                                       No third party depositions scheduled by defendants

 Week of April 1-5:
   1. Your Staff Plus (David Brookshire)                    4/1 (unconfirmed)

 Week of April 8-12:
   2. Presidio (William Lamm)                               4/8 (unconfirmed)
   3. Carfax                                                4/9

 Week of April 15-19:
   4. Dominion                                              4/15 (unconfirmed)
   5. XTime (Neal East)                                     4/15 (unconfirmed)
   6. Accel-KKR                                             4/16 (unconfirmed)

 Week of April 22-26:
   7. Uftring Auto Group (Patrick McKinley)                 4/23
   8. Serra Auto                                            Proposed for week of 4/22-4/26

 Week of April 29-30:
                                                            1
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     9. NADA                                                 4/30 (unconfirmed)


Regards,
Liz

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